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 UNITED STATES OF AMERICA
             v.                        CRIMINAL NO. 2005-10304-GAO-10
 LESLIE ABAD,
           Defendant.

             ORDER RETURNING
          CASE OF LESLIE ABAD TO
    DISTRICT JUDGE FOR CHANGE OF PLEA

COLLINGS, U.S.M.J.
     The Court has been informed that the above-named defendant intends to
plead guilty to the charge contained in the Indictment.
     ACCORDINGLY, THE CASE AS TO THE ABOVE-NAMED DEFENDANT IS
RETURNED TO THE CLERK’S OFFICE WITH INSTRUCTIONS TO BRING THE
CASE TO THE IMMEDIATE ATTENTION OF THE COURTROOM DEPUTY CLERK
ASSIGNED TO JUDGE O’TOOLE’S SESSION.

                                   /s/ Robert B. Collings
                                   ROBERT B. COLLINGS
                                   United States Magistrate Judge
Date: May 1, 2007.
